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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS                                  3:
                                                          ZOI8NOV -9 PM
                                                                                               [

                                 AUSTIN DIVISION


AMY SMITH, JULIE ANN NITSCH,                  §
MARINA CONNER, EMILY                          §
BORCHARDT, ANGELA FIELDING,                   §
ANISHA ITUAH (BY AND THROUGH                  §
HER LEGAL GUARDIAN ANGELA                     §
MCKAY), HEATHER SIN, AND                      §
SARAH JONES, EACH INDIVIDUALLY                §
AND ON BEHALF OF ALL OTHERS                   §
SIMILARLY SITUATED,                           §
                 PLAINTIFFS,                  §
                                              §
V.                                            §    CAUSE NO. A:18-CV-00505-LY
                                              §
CITY OF AUSTIN, TRAVIS COUNTY                 §
DISTRICT ATTORNEY MARGARET                    §
MOORE, FORMER TRAVIS COUNTY                   §
DISTRICT ATTORNEY ROSEMARY                    §
LEHMBERG, AUSTIN POLICE CHIEF                 §
BRIAN MANELY, FORMER AUSTIN                   §
POLICE CHIEF ART ACEVEDO, AND                 §
TRAVIS COUNTY, TEXAS,                         §
                 DEFENDANTS.                  §


                       ORDER RESETTING ORAL ARGUMENT

      IT IS HEREBY ORDERED that this cause is reset for oral argument on the City

Defendants' Rule 12(b)(1) and 12(b)(6) Motion to Dismiss filed September 7, 2018 (Clerk's

Document No. 40); Defendants Travis County, District Attorney Margaret Moore, and Former

District Attorney Rosemary Lehmberg's Motion to Dismiss Plaintiffs' First Amended Class Action

Complaint filed September 11, 2018 (Clerk's Document No. 43); Plaintiffs' Omnibus Response to

Defendants' Motions to Dismiss filed October 22, 2018 (Clerk's Document No. 49); City

Defendants' Reply Brief in Support of Dismissal of First Amended Class Action Complaint filed

November 5, 2018 (Clerk's Document No. 53); and Defendants Travis County, District Attorney
          Case 1:18-cv-00505-LY Document 58 Filed 11/09/18 Page 2 of 2



Margaret Moore, and Former District Attorney Rosemary Lehmberg' s Reply to Plaintiffs' Response

to Defendants' Motion to Dismiss Plaintifffs' First Amended Class Action Complaint filed

November 5,2018 (Clerk's Document No. 54) at 9:30 a.m. on Monday, December 17,2018, in

Courtroom 7, Seventh Floor of the United States Courthouse, 501 West 5th Street, Austin, Texas.

       Each side shall have 30 minutes to argue. Defendants may reserve some of their time for

rebuttal and they may divide their time as they deem appropriate.

       SIGNED this                day of November, 2018.


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                                            UNITED STATES DISTRICT JUDGE
